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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES

v.                                                 CASE NO: 1:21-cr-00591

Oliver Sarko

       Defendant


           DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

       Defendant, Oliver Sarko, by and through counsel, respectfully submits this

memorandum in aid of sentencing. For the reasons stated below, I respectfully

request that the Court sentence Mr. Sarko to a term of probation of 24 months

and $500.00 in restitution.


Background

On January 6, 2021, Mr. Sarko knowingly and voluntarily participated and

attended the “Stop the Steal” rally in the District of Columbia to protest the

results of the 2020 presidential election. While walking to the Capitol building,

Mr. Sarko was live streaming his conduct and statements on social media. Mr.

Sarko stated, “We are storming the Capitol out here.” “Where are the traitors?”

“Bring out Pelosi!” “We won't let you steal this country.” “Fight for Trump!” we’re

breaking in right now.” While on the Capitol grounds, he witnesses others

pushing past police lines and entering the Capitol. He did not push against the

police lines and only continued into the Capitol once the police lines had already

been breached. He then entered the Capitol building through the Northwest side


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of the Capitol Building.




                                          Mr. Sarko entered at 2:35pm
                                          He remained in the building for
                                          approximately 20 minutes.


                                           After leaving Mr. Sarko posted on social
                                           media the events.




STATUTORY AND GUIDELINE ANALYSIS


Statutory Penalties

       Mr. Sarko entered a plea to Count 3 of the information, charging him with

Disorderly Conduct in a Capitol Building, in violation of Title 40, United States

Code, Section 5104(e)(2)(D), which carries a maximum sentence of six months

of imprisonment, pursuant to 40 U.S.C. § 5109(b); a fine of not more than

$5,000, pursuant to 18 U.S.C. § 3571(b)(6). He agreed to pay restitution of

$500.00. Supervised release does not apply to this misdemeanor offense;

however, a period of probation of up to five years applies.


       Guidelines Calculation

       Pursuant to USSG §1B1.9, the U.S. Sentencing Guidelines do not apply to

any count of conviction that is a Class B or C misdemeanor or an infraction.

Accordingly, the US Sentencing Guidelines do not apply to this count.




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                          SECTION 3553(a) FACTORS


       18 U.S.C. § 3553(a) mandates that a court “impose a sentence sufficient,

but not greater than necessary, to comply with” federal sentencing goals. In

imposing a sentence that is “sufficient, but not greater than necessary,” the court

should look to the statutory factors listed under Section 3553. These factors

include:

       1.     Nature and circumstances of the offense and history and
              characteristics of the Defendant

       While the events of January 6, 2021, at the Capitol, were unprecedented,

violent, and shocking, Mr. Sarko’s conduct certainly was not violent. No question

Mr. Sarko’s behavior was criminal; He did not engage in any violence; did not

break anything; did not confront or fight with police; He did not take any

“souvenirs;” did not contemplate defecating on anyone’s desk; did not yell that

“we have the police surrounded!”; did not have a pickaxe with him; did not yell

“traitors gonna hang!”; did not yell “go, go, go!” when police lines were breached.

He also was not affiliated with any organized or extremist group. Mr. Sarko does

not make any calls to violence; he does not incite a crowd or make any threats.

These factors weigh in favor of a probationary sentence:

   a) Whether, when, and how the Defendant enter the Capitol building?

              Here, Mr. Sarko peacefully entered the building after others had
              already broken in. He did not break any windows or doors and did
              not assault any police guarding the premises.

   b) Whether the Defendant engaged in or incited any violence? –

              No, the Defendant did not incite violence.

   c) Whether the Defendant engaged in any acts of destruction?

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               No, the Defendant did not engage in any acts of destruction.

     d) Whether during or after the riot, the Defendant destroyed evidence?

               No, the Defendant did not destroy any evidence.


     e) The length of the Defendant’s time inside of the building and exactly
        where the Defendant traveled – according to the government,

               Mr. Sarko was in the building for approximately 20 minutes.


     f) Whether the Defendant cooperated with or ignored, law enforcement?

               Mr. Sarko cooperated with law enforcement. He did not try to
               conceal his Behavior and turned over his accounts to law
               enforcement.

     g) Whether the Defendant otherwise exhibited evidence of remorse or
        contrition

               Mr. Sarko has accepted responsibility for his actions and is
               remorseful for his conduct. Mr. Sarko accepted responsibility for
               his criminal conduct.


2.       Mr. Sarko’s History and Characteristics


        Mr. Sarko is a 27-year-old single man who has always worked. He has

two prior misdemeanor convictions with four arrests (See PSR 7-8). He is

gainfully employed as an oil drill worker in Pennsylvania. He has complied with

all pretrial release conditions and has demonstrated that he can follow the

Court’s instructions if placed on probation.

3.      Seriousness of the offense, respect for the law, just
        punishment

        This offense is undoubtedly serious, especially in the context from which it

arose. However, Mr. Sarko has demonstrated his respect for the law and the
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legal process by agreeing to plead guilty when the government made him a plea

offer, accepting responsibility, and foregoing a costly trial. A sentence of

imprisonment will result in losing his employment and home – much too great a

punishment given his actual conduct.



4.     Deterrence of criminal conduct and protection from further
       crimes


       Except for a few misdemeanors, Mr. Sarko has never been insignificant

trouble before. There is nothing in his past or even in the current situation that

would indicate that he will break the law again or that society must be protected

from him with incarceration. As the Court of Appeals noted about the events of

January 6 in United States v. Munchel, 991 F.3d 1272 (DC Cir. 2021): The

District Court also failed to demonstrate that it considered the specific

circumstances that made it possible, on January 6, for Munchel and Eisenhart to

threaten the peaceful transfer of power. The appellants had a unique opportunity

to obstruct democracy on January 6 because of the electoral college vote tally

taking place that day and the concurrently scheduled rallies and protests. Thus,

Munchel and Eisenhart attempted to obstruct the electoral college vote by

entering the Capitol with a large group of people who had gathered at the Capitol

in protest that day. Because Munchel and Eisenhart did not vandalize any

property or commit violence, the group's presence was critical to their ability to

obstruct the vote and cause danger to the community. Without it, Munchel and

Eisenhart—two individuals who did not engage in any violence and who were not

involved in planning or coordinating the activities—seemingly would have posed
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little threat. Munchel, 991 F.3d 1284 (emphasis added). Here, the same can be

said. Besides his conduct on January 6, which was nonviolent and could only

have occurred on that day, there is no indication that he is a future danger to

society.


        5.       Need for treatment and training

        Mr. Sarko does not need training or counseling.

        6.       Kinds of sentences available and the sentencing ranges
                 established

        The offense of conviction, Disorderly Conduct in a Capitol Building, in

violation of Title 40, United States Code, Section 5104(e)(2)(D), carries a

maximum sentence of six months of imprisonment, pursuant to 40 U.S.C. §

5109(b); a fine of not more than $5,000, pursuant to 18 U.S.C. § 3571(b)(6). He

agreed to pay restitution of $500.00. Supervised release does not apply to his

misdemeanor offense; however, a period of probation of up to five years applies.


        7.       Need to avoid sentencing disparities

        On April 20, 2022, Undersigned and the Government attorney spoke. She

indicated she would seek house arrest for three months.1. While the probation

officer recommended 20 days, the Defense believes a 20-day sentence would

create a domino effect. As evidenced by the financial reports submitted, Mr.

Sarko is self-reliant. He has no spouse or others to request financial assistance,

and therefore, a short jail sentence could create an environment where he is

unemployed again. Notably, he recently obtained employment in January 2022



1 In the Government initial Sentencing Memorandum requested incarceration for one month.
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after losing his job in December 20212.

        Mr. Sarko’s culpability appears to be minimal in contrast with rioters who

destroyed or stole government property and assaulted or threatened the law

enforcement officers on that date.” Doc. 24 at 1. Furthermore, Mr. Sarko has

complied with his pretrial supervision and the terms of his release. He does not

appear to present a danger to the community, and the goals of sentencing may

be accomplished through a non-custodial sentence of probation supervision.

Punishment can be in the need of community service and instead of costing the

taxpayers money, Mr. Sarko can give back. Rehabilitation does not appear to be

a particular concern for this Defendant.”


        8.      Need to provide restitution

        Mr. Sarko has agreed to pay total restitution of $500.00.

CONCLUSION

        Mr. Sarko recognizes that he should not have been in the Capitol on

January 6 and that he must be punished for that conduct. However, his behavior

on that day does not deserve a prison sentence considering that he did not

engage in violence or destruction of property. His conduct should not result in

incarceration and personal ruin.

        Mr. Sarko respectfully requests that after considering the § 3553(a)

factors, the Court impose a sentence of 24 months of probation and in lieu of

home confinement, as the Government is requesting – 120 hours of community




2 Mr. Sarko believes he was released from employment in December 2019 because of his involvement in
this matter.
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service would warrant significant punishment. Considering the relevant case law

and pursuant to 18 U.S.C. § 3553(a), such a sentence is sufficient but not greater

than necessary.


Dated: Washington, DC



                                   Respectfully submitted,
                                   ROLLINS AND CHAN

                                   /s/
                                   _________________________
                                   Mark Rollins
                                   DC Bar Number: 453638
                                   Counsel for Oliver Sarko
                                   419 7TH Street, NW
                                   Suite 405
                                   Washington, DC 20004
                                   Telephone No. 202-455-5610
                                   Direct No: 202-455-5002
                                   mark@rollinsandchan.com

Date Filed: April 21, 2022


                          CERTIFICATE OF SERVICE

       I hereby certify that on April 21, 2022, this motion was electronically
filed pursuant to the rules of the Court.


                                                  /s/
                                                  ________________________
                                                  Mark Rollins




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